                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                     Case No. 17-CR-50

STEVEN G. O’CONNELL, PETER J. MARK,
CHRISTY L. MCNAMEE, GREDE, LLC and
GREDE II, LLC (aka GREDE WISCONSIN
SUBSIDIARIES, LLC),

                Defendants.


                                              ORDER


         Pursuant to the request of counsel for Defendant Peter J. Mark, the conditions of Mark’s

release are hereby clarified, subject to reconsideration in the event the Government objects, to allow

ordinary contact with the potential government witnesses with whom he works, as needed, within

the scope of his ongoing employment. It is understood that Mark will avoid any discussion of all

matters relating to his pending criminal case.

         SO ORDERED in Green Bay, Wisconsin, this 31st day of May, 2017.

                                                       BY THE COURT:

                                                        s/ William C. Griesbach
                                                       William C. Griesbach, Chief Judge
                                                       United States District Court.




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